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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     HEATHER CARR,
2.     TRAMMEL THOMAS, and
3.     MERCEDES DIAZ,

       Defendants.


            ORDER RESETTING TRIAL DATE AND RELATED DEADLINES


       This matter comes before the Court for the re-setting of a trial date and related

deadlines upon the entry of the Court’s Order Granting Defendant’s Motion for Ends of

Justice Continuance . Accordingly, it is hereby ORDERED as follows:

       A.      All pretrial motions shall be filed by no later than August 1, 2016.

Responses to these motions shall be filed by no later than August 11, 2016. No reply

shall be permitted without prior leave of Court. If a party believes an evidentiary

hearing on a pretrial motion is necessary, a written request for same must be made by

no later than the pretrial motion deadline;

       B.      The Court will not consider any motion related to the disclosure or

production of discovery that is addressed by the Discovery Memorandum and Order

and/or Fed. R. Crim. P. 16, unless prior to filing the motion counsel for the moving party

has conferred or made reasonable, good-faith efforts to confer with opposing counsel in
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an effort to resolve the disputed matter. If the parties are unable to resolve the dispute,

the moving party shall state in the motion the specific efforts which were taken to

comply with this Order to Confer. Counsel for the moving party shall submit a proposed

order with all motions, opposed and unopposed. Opposed disclosure or discov ery

motions which do not demonstrate meaningful compliance with this Order to Confer will

be stricken;

       C.      Expert witness disclosures pursuant to Fed. R. Crim. P. 16 shall

be made no later than seven days before the pretrial motion deadline, and any

challenges to such experts shall be made by said deadline;

       D.      Disclosures regarding rebuttal expert witnesses shall be made one week

after the pretrial motion deadline, and any challenges to such rebuttal experts shall be

made no later than two weeks after said deadline;

       E.      Local Rule D.C.COLO.LCrR 11.1 applies fully to this case. Absent an

Order permitting or directing otherwise, a Notice of Disposition shall be filed no later

than 14 days before the trial date. Upon the filing of a Notice of Disposition the Court

will generally convert the Final Trial Preparation Conference to a Change of Plea

hearing, unless for good cause shown a party demonstrates the interests of justice are

better served by scheduling the Change of Plea hearing at a later date;

       F.      A Final Trial Preparation Conference is hereby set for August 19, 2016 at

4:00 p.m. in Courtroom A801. Lead counsel who will try the case must attend in

person. Any outstanding motions may be addressed at the time of the Final Trial

Preparation Conference;



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       G.     The parties must be prepared to address at the Final Trial Preparation

Conference some or all of the issues which may affect the duration or course of the trial

referenced in the Court’s Revised Practice Standards applicable to such Conferences;

       H.     A 6-day jury trial is hereby set to commence in the U.S. Courthouse,

Courtroom A801, 901 19th Street, Denver, Colorado, on August 29, 2016 at 8:30 a.m.;

and

       I.     Counsel are directed to this Court’s Revised Practice Standards to ensure

compliance with all deadlines triggered by the setting of the Final Trial Preparation

Conference and Trial.


       Dated this 19th day of April, 2016.

                                                 BY THE COURT:



                                                 __________________________
                                                 William J. Martínez
                                                 United States District Judge




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